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                      UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                               VICTORIA DIVISION
__________________________________________
                                           )
STATE OF TEXAS,                            )
                                           )
                        Plaintiff,         )
      v.                                   )   No. 6:21-cv-00003
                                           )
UNITED STATES OF AMERICA, et al.           )
                                           )
                        Defendants.        )
__________________________________________)

                                            NOTICE

       In addition to taking the steps needed to comply with the Court’s temporary restraining order,

Defendants continue to work with dispatch to gather the information requested in the Court’s minute

order. The Defendants will supply information to the Court through a Declaration as soon as

practicable upon gathering and verifying the requested information.


Dated: January 26, 2021                       Respectfully submitted,

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                                              Acting Assistant Attorney General

                                              AUGUST FLENTJE
                                              Special Counsel

                                              BRIGHAM J. BOWEN
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                                CERTIFICATE OF SERVICE
      I certify that a true and accurate copy of the foregoing document was filed electronically (via

CM/ECF) on January 26, 2021.


                                             /s/ Adam D. Kirschner
                                             ADAM D. KIRSCHNER




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